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   B 2100A (Form 2100A) (12/15)


                            UNITED STATES BANKRUPTCY COURT
                                                       Western District of Texas

   In re     Nohemi Chico                                             ,                            Case No.          15-31885-HCM




                        TRANSFER OF CLAIM OTHER THAN FOR SECURITY
   A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
   hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than
   for security, of the claim referenced in this evidence and notice.



    Dilks & Knopik, LLC                                                        Estate of Mary Dulanto
                Name of Transferee                                                          Name of Transferor

   Name and Address where notices to transferee                                Court Claim # (if known):                      006
   Should be sent:
                                                                               Amount of Claim:                       $40,000.00
     35308 SE Center Street                                                    Date Claim Filed:                      3/29/2016
     Snoqualmie WA 98065


   Phone:     425-836-5728                                                    Phone: 817-937-5892
   Last Four Digits of Acct #:                                                Last Four Digits of Acct #:

  Name and Address where transferee payments
  should be sent (if different from above):



   Phone:
   Last Four Digits of Acct #:


   I declare under penalty of perjury that the information provided in this notice is true and correct to the best
   of my knowledge and belief.

   By:        /s/ Brian J Dilks - President                                     Date:       6/4/2021
              Transferee/Transferee’s Agent


   Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
